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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                               CRIMINAL NO. 20-149
 VERSUS                                                 SECTION "I"
 CHRISTOPHER BLACKSTONE                                 VIOLATION: 18 U.S.C. ' 1349


                            RE-NOTICE OF SENTENCING

Take Notice that this criminal case has been reset for SENTENCING on JULY 27, 2022 at 2:00
P.M., before U.S. District Judge Lance M. Africk, 500 Poydras Street, Courtroom C427, New
Orleans, LA 70130.

 **IMPORTANT NOTE: PHOTO I.D. IS REQUIRED TO ENTER THE BUILDING**
PERSONS ON BOND MUST REPORT TO THE DEPUTY U.S. MARSHAL
IMMEDIATELY OUTSIDE THE AFORESAID COURTROOM FOR EVALUATION
AND SEARCH 15 MINUTES PRIOR TO APPEARANCE.


Date:    March 7, 2022                          CAROL MICHEL, CLERK

TO:                                             Issued by: Bridget Gregory, Deputy Clerk
Christopher Blackstone (BOND)
                                                AUSA:      Kathryn M. McHugh
Counsel for defendant:
Catherine M. Maraist                            SA Carlos Prieto,
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P.O. Box 3197
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Email: catherine.maraist@bswllp.com             U.S. Probation Office
                                                U.S. Probation Office - Pretrial Services Unit
Jack Martin Dampf
6700 Jefferson Highway, Building 3              JUDGE
Baton Rouge, LA 70806
Email: jack@dthlaw.net                          MAGISTRATE

Randall A. Smith                                COURT REPORTER COORDINATOR
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If you change address,
notify clerk of court
by phone, 589-7752
